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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


                                                            Case No: ________________
 IN RE GRAND JURY SUBPOENA DATED
 FEBRUARY 2, 2023                                       ORAL ARGUMENT REQUESTED


  NOTICE OF MOTION TO INTERVENE AND QUASH GRAND JURY SUBPOENA
                      DATED FEBRUARY 2, 2023

       PLEASE TAKE NOTICE that, pursuant to Rules 6 and 17 of the Federal Rules of Criminal

Procedure, upon the accompanying Memorandum of Law in Support of Movants’ Motion to

Intervene and Quash Grand Jury Subpoena Dated February 2, 2023 (the “Motion”), the exhibits

thereto, and the Declaration of Mark Califano, Movants respectfully move this Court, the United

States District Court for the Southern District of New York, at the Daniel Patrick Moynihan United

States Courthouse, 500 Pearl Street, New York, New York 10007-1312, at a date and time to be

determined by the Court, for an Order quashing the subpoena, dated February 2, 2023, issued by

a federal grand jury sitting in the Southern District of New York. The Memorandum of Law in

Support, supporting declaration and exhibits, and a proposed order are forthcoming and will be

filed under seal or in camera, upon the assignment of a presiding judge. Movants respectfully

request oral argument for the Motion.




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Date: March 29, 2023               Respectfully submitted,
                                   DENTONS US LLP


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                                   Counsel for Movants




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                                CERTIFICATE OF SERVICE

       I hereby certify that the forgoing Notice was served on the following Assistant United

States Attorneys for United States District Court for the Southern District of New York via e-mail,

pursuant to the parties’ agreement, on March 29, 2023:

       Andrew Thomas
       Jared Lenow
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                                                     /s/Mark Califano
                                                     Mark Califano




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